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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
 vs.                                               )    Criminal Action No. 11-00012-KD
                                                   )
 BUTCH BRILL,                                      )
                                                   )
        Defendant.                                 )

                                               ORDER

        This action is before the Court on the motion for release pending appeal filed by Butch

 Brill and the response in opposition filed by the United States (docs. 651, 674). Upon

 consideration and for the reasons set forth herein, the motion (doc. 651) is DENIED.

        Brill was convicted of one count of conspiracy to commit health care fraud and sentenced

 to a term of fifteen months (doc. 644). Brill appealed his conviction and sentence. Brill now

 argues that he should be released pending appeal because, inter alia, his appeal raises a

 substantial question of law or fact (doc. 651). Brill argues that his post-trial motion for judgment

 of acquittal demonstrates that he has “substantial issues” to present on appeal (doc. 555).

        The United States responds that Brill does not identify the substantial question of law or

 fact that he plans to raise on appeal but instead relies on the generic assertion of “substantial

 issues” by reference to his motion for judgment of acquittal. The United States argues that Brill

 raised insufficiency of the evidence in his motion but that would not establish a substantial

 question on appeal which could warrant release pending appeal.

        Brill moved the Court for a judgment of acquittal on basis that there was not sufficient

 evidence that he knowingly and willfully entered into an agreement, i.e., conspired, to commit

 health care fraud. Assuming that this is the issue he raises on appeal, sufficiency of the evidence
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 claims generally do not establish a substantial question of law or fact such that Brill should be

 released pending appeal. See United States v. Siegelman 2008 WL 45531, 9 (M.D. Ala. Jan. 2,

 2008); see also United States v. Greenough, 609 F.Supp. 1090, 1094 n. 1 (S.D. Ala. 1985) (“The

 defendant's directed verdict claim, or a claim or insufficiency of the evidence, should not, in this

 Court's opinion, normally be considered a ‘substantial’ question under the Bail Reform Act. If

 that were the case, then any time a defendant moved for a directed verdict or stated that he would

 raise a sufficiency question on appeal, he would be entitled to bail. This Court is of the opinion

 that he would have to establish a ‘substantial’ question by clearly showing the lack of evidence

 on an element of the offense, or some similar fault with the Government's case in chief.”). Brill

 has not met his burden of showing by clear and convincing evidence that he is entitled to release.

 18 U.S.C. § 3143(b).1 Therefore, his motion is denied.

        DONE and ORDERED this the 23rd day of July, 2012.



                                               /s/ Kristi K. DuBose
                                               KRISTI K. DuBOSE
                                               UNITED STATES DISTRICT JUDGE




        1
            Pursuant to 18 U.S.C. § 3143(b), the Court shall grant a motion for release pending
 appeal if a convicted defendant shows – by clear and convincing evidence – that: 1) he is not
 likely to flee or pose a danger to the safety of any other person or the community if released; 2)
 the appeal is not taken for the purpose of delay and raises a substantial question 2 of law or fact
 likely to result in reversal, an order for a new trial, a sentence that does not include a term of
 imprisonment, or a reduced sentence to a term of imprisonment less than the total of the time
 already served plus the expected duration of the appeal process. See 18 U.S.C. § 3143(b). The
 burden of establishing each of these factors rests with the convicted defendant. United States v.
 Giancola, 754 F.2d 898, 901 (11th Cir. 1985).



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